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                             UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF GEORGIA
                                  COLUMBUS DIVISION

JACKIE HARRIS,

    Plaintiff,                                      CASE NO.:

-VS-

NORTHSTAR LOCATION SERVICES,
LLC,d/b/a THE NORTHSTAR COMPANIES,

    Defendant.
                                      /

                      COMPLAINT AND DEMAND FOR JURY TRIAL

       COMES NOW Plaintiff, JACKIE HARRIS, by and through the undersigned counsel, and

sues Defendant, NORTHSTAR LOCATION SERVICES, LLC d/b/a THE NORTHSTAR

COMPANIES, and in support thereof respectfully alleges violations of the Telephone Consumer

Protection Act, 47 U.S.C. §227 et seq. (“TCPA”) and the Fair Debt Collection Practices Act, 15

U.S.C. § 1692 et. seq. (“FDCPA”).

                                          INTRODUCTION

       1.        The TCPA was enacted to prevent companies like Defendant from invading

American citizen’s privacy and prevent abusive “robo-calls.”

       2.        “The TCPA is designed to protect individual consumers from receiving intrusive

and unwanted telephone calls.” Mims v. Arrow Fin. Servs., LLC, -US--, 132 S.Ct. 740, 745, 181

L.Ed. 2d 881 (2012).

       3.        “Senator Hollings, the TCPA’s sponsor, described these calls as ‘the scourge of

modern civilization, they wake us up in the morning; they interrupt our dinner at night; they

force the sick and elderly out of bed; they hound us until we want to rip the telephone out of the


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wall.’ 137 Cong. Rec. 30, 821 (1991). Senator Hollings presumably intended to give telephone

subscribers another option: telling the auto-dialers to simply stop calling.” Osorio v. State Farm

Bank, F.S.B., 746 F. 3d 1242, 1256 (11th Cir. 2014).

       4.      According to the Federal Communications Commission (FCC), “Unwanted calls

and texts are the number one complaint to the FCC. There are thousands of complaints to the

FCC every month on both telemarketing and robocalls. The FCC received more than 215,000

TCPA complaints in 2014." https://www.fcc.gov/document/fact-sheet-consumer-protection-

proposal

                                 JURISDICTION AND VENUE


       5.      This is an action for damages exceeding Seventy-Five Thousand Dollars

($75,000.00) exclusive of attorney fees and costs.

       6.      Jurisdiction and venue for purposes of this action are appropriate and conferred by

28 U.S.C. § 1331, Federal Question Jurisdiction, as this action involves violations of the TCPA.

       7.      Subject matter jurisdiction, federal question jurisdiction, for purposes of this

action is appropriate and conferred by 28 U.S.C. § 1331, which provides that the district courts

shall have original jurisdiction of all civil actions arising under the Constitution, laws, or treaties

of the United States; and this action involves violations of 47 U.S.C. § 227(b)(1)(A)(iii). See

Mims v. Arrow Fin. Servs., LLC, S.Ct. 740, 748 (2012) and Osorio v. State Farm Bank, F.S.B.,

746 F.3d 1242, 1249 (11th Cir. 2014)

       8.      The alleged violations described herein occurred in Muscogee County, Georgia.

Accordingly, venue is appropriate with this Court under 28 U.S.C. §1391(b)(2), as it is the

judicial district in which a substantial part of the events or omissions giving rise to this action

occurred.

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                                  FACTUAL ALLEGATIONS

       9.      Plaintiff is a natural person, and citizen of the State of Georgia, residing in the

city of Columbus, Muscogee County.

       10.     Plaintiff is a “consumer” as defined in 15 U.S.C. § 1692(a)(3).

       11.     Plaintiff is an “alleged debtor.”

       12.     Plaintiff is the “called party.” See Breslow v. Wells Fargo Bank, N.A., 755 F. 3d

1265 (11th Cir. 2014) and Osorio v. State Farm Bank, F.S.B., 746 F. 3d 1242 (11th Cir. 2014).

       13.     Defendant is a corporation which was formed in New York with its principal

place of business located at 4285 Genesee Street, Cheektowaga, New York 14225 and which

conducts business in the State of Georgia through its registered agent, CT Corporate System

located at 289 S. Culver Street, Lawrenceville, Georgia 30046.

       14.     Defendant is a “debt collector” as defined by 15 U.S.C. § 1692(a)(6).

       15.     The debt that is the subject matter of this complaint is a “consumer debt” as

defined by 15 U.S.C. § 1692(a)(5).

       16.     Defendant called Plaintiff on Plaintiff’s cellular telephone approximately one

hundred (100) times in an attempt to collect a debt.

       17.     Defendant attempted to collect an alleged debt from the Plaintiff by this campaign

of telephone calls.

       18.     Defendant intentionally harassed and abused Plaintiff on numerous occasions by

calling several times during one day, and on back to back days, with such frequency as can

reasonably be expected to harass.

       19.     Upon information and belief, some or all of the calls the Defendant made to

Plaintiff’s cellular telephone number were made using an “automatic telephone dialing system”


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which has the capacity to store or produce telephone numbers to be called, using a random or

sequential number generator (including but not limited to a predictive dialer) or an artificial or

prerecorded voice; and to dial such numbers as specified by 47 U.S.C § 227(a)(1) (hereinafter

“auto-dialer calls”). Plaintiff will testify that he knew it was an auto-dialer because of the vast

number of calls he received and because he received prerecorded messages from Defendant.

       20.     Plaintiff is the subscriber, regular user and carrier of the cellular telephone

number (762) ***-3615, and was the called party and recipient of Defendant’s calls.

       21.     Defendant placed an exorbitant number of automated calls to Plaintiff’s cellular

telephone (762) ***-3615 in an attempt to collect on a consumer loan.

       22.     Upon receipt of the calls from Defendants, Plaintiff’s caller ID identified the calls

were being initiated from, but not limited to the following number: (888) 820-0968.

       23.     On several occasions over the last four (4) years, Plaintiff instructed Defendant’s

agent(s) to stop calling his cellular telephone.

       24.     In or about August 2017, Plaintiff answered a call from Defendants to his

aforementioned cellular telephone number. Plaintiff spoke to an agent/representative of

Defendant and informed the agent/representative that he was not behind on his payments and he

did not understand why they were calling him. Plaintiff demanded the harassing calls to his

cellular telephone number cease immediately.

       25.     Again, in or about September 2017, Plaintiff answered a call from Defendant to

his aforementioned cellular telephone number. Plaintiff spoke to an agent/representative of

Defendants and informed the agent/representative that he was not behind on his payments and he

did not understand why they were calling him. Plaintiff demanded the harassing calls to his

cellular telephone number cease immediately.


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        26.     Additionally, in or about June 2018, Plaintiff answered a call from Defendant to

his aforementioned cellular telephone number. Plaintiff spoke to an agent/representative of

Defendants and informed the agent/representative that he was not behind on his payments and he

did not understand why they were calling him. Plaintiff demanded the harassing calls to his

cellular telephone number cease immediately.

        27.     Each subsequent call Defendant made to Plaintiffs aforementioned cellular

telephone number was knowing and willful and done so without the “express consent” of

Plaintiff.

        28.     Despite clearly and unequivocally revoking any consent Defendant may have

believed they had to call Plaintiff on his cellular telephone, Defendant continues to place

automated calls to Plaintiff.

        29.     Plaintiffs numerous conversations with Defendants agents/representatives over

the telephone wherein he demanded a cessation of calls were in vain as Defendant continues to

bombard him with automated calls unabated.

        30.     Defendant intentionally harassed and abused Plaintiff on numerous occasions by

calling several times during one day, and on back to back days, with such frequency as can

reasonably be expected to harass.

        31.     Defendant has a corporate policy to use an automatic telephone dialing system or

a pre-recorded or artificial voice to individuals just as it did to the Plaintiff’s cellular telephone in

this case.

        32.     Defendant has a corporate policy to use an automatic telephone dialing system or

a pre-recorded or artificial voice, just as it did to the Plaintiff’s cellular telephone in this case,

with no way for the consumer, or Defendant, to remove the number.


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        33.     Defendant’s corporate policy is structured as to continue to call individuals like

the Plaintiff; despite these individuals explaining to Defendant they wish for the calls to stop.

        34.     Defendant has numerous other federal lawsuits pending against them alleging

similar violations as stated in this Complaint.

        35.     Defendant has numerous complaints against them across the country asserting that

their automatic telephone dialing system continues to call despite being requested to stop.

        36.     Defendant has had numerous complaints from consumers against them across the

country asking to not be called, however Defendant continues to call the consumers.

        37.     Defendant’s corporate policy provided no means for Plaintiff to have his number

removed from the call list.

        38.     Defendant has a corporate policy to harass and abuse individuals despite actual

knowledge that the called parties do not wish to be called.

        39.     None of Defendant’s telephone calls placed to Plaintiff were for “emergency

purposes” as specified in 47 U.S.C. §227(b)(1)(A).

        40.     Defendant willfully and/or knowingly violated the TCPA with respect to the

Plaintiff.

        41.     From each and every call placed without express consent by Defendant to

Plaintiff’s cellular telephone, Plaintiff suffered the injury of invasion of privacy and the intrusion

upon his right of seclusion.

        42.     From each and every call without express consent placed by Defendant to

Plaintiff’s cellular telephone, Plaintiff suffered the injury of the occupation of his cellular

telephone line and cellular telephone by unwelcome calls, making the telephone unavailable for

legitimate callers or outgoing calls while the telephone was ringing from Defendant’s call.


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       43.     From each and every call placed without express consent by Defendant to

Plaintiff’s cellular telephone, Plaintiff suffered the injury of unnecessary expenditure of his time.

For calls he answered, the time he spent on the call was unnecessary as he had repeatedly asked

for the calls to stop. Even for unanswered calls, Plaintiff had to waste time to unlock the

telephone and deal with missed call notifications and call logs that reflected the unwanted calls.

This also impaired the usefulness of these features of Plaintiff’s cellular telephone, which are

designed to inform the user of important missed communications.

       44.     Each and every call placed without express consent by Defendant to Plaintiff’s

cellular telephone was an injury in the form of a nuisance and annoyance to Plaintiff. For calls

that were answered, Plaintiff had to go to the unnecessary trouble of answering them. Even for

unanswered calls, Plaintiff had to waste time to unlock the telephone and deal with missed call

notifications and call logs that reflected the unwanted calls. This also impaired the usefulness of

these features of Plaintiff’s cellular telephone, which are designed to inform the user of

important missed communications.

       45.     Each and every call placed without express consent by Defendant to Plaintiff’s

cellular telephone resulted in the injury of unnecessary expenditure of Plaintiff’s cellular

telephone’s battery power.

       46.     Each and every call placed without express consent by Defendant to Plaintiff’s

cellular telephone where a voice message was left which occupied space in Plaintiff’s telephone

or network.

       47.     Each and every call placed without express consent by Defendant to Plaintiff’s

cellular telephone resulted in the injury of a trespass to Plaintiff’s chattel, namely his cellular

telephone and his cellular telephone services.


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        48.     As a result of the calls described above, Plaintiff suffered an invasion of privacy.

Plaintiff was also affect in a personal and individualized way by stress, anxiety, nervousness,

embarrassment, distress and aggravation.

                                            COUNT I
                                     (Violation of the TCPA)

        49.     Plaintiff fully incorporates and re-alleges paragraphs one (1) through forty eight

(48) as if fully set forth herein.

        50.     Defendant willfully violated the TCPA with respect to the Plaintiff, especially for

each of the auto-dialer calls made to Plaintiff’s cellular telephone after Plaintiff notified

Defendant that he wished for the calls to stop.

        51.     Defendant repeatedly placed non-emergency telephone calls to Plaintiff’s cellular

telephone using an automatic telephone dialing system or prerecorded or artificial voice without

Plaintiff’s prior express consent in violation of federal law, including 47 U.S.C §

227(b)(1)(A)(iii).

        WHEREFORE, Plaintiff respectfully demands a trial by jury on all issues so triable and

judgment against Defendant for statutory damages, punitive damages, actual damages, treble

damages, enjoinder from further violations of these parts and any other such relief the court may

deem just and proper.

                                            COUNT II
                                     (Violation of the FDCPA)

        52.     Plaintiff fully incorporates and re-alleges paragraphs one (1) through forty eight

(48) as if fully set forth herein.

        53.     At all times relevant to this action Defendant is subject to and must abide by 15

U.S.C. § 1692 et seq.


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       54.     Defendant has violated 15 U.S.C. § 1692(d) by willfully engaging in conduct the

natural consequence of which is to harass, oppress, or abuse any person in connection with the

collection of a debt.

       55.     Defendant has violated 15 U.S.C. § 1692(d)(5) by causing a telephone to ring or

engaging any person in telephone conversation repeatedly or continuously with intent to annoy,

abuse, or harass any person at the called number.

       56.     Defendant has violated 15 U.S.C. § 1692(f) by using unfair and unconscionable

means to collect or attempt to collect any debt.

               WHEREFORE, Plaintiff respectfully demands a trial by jury on all issues so

triable and judgment against Defendant for statutory damages, punitive damages, actual

damages, costs, interest, attorney fees, enjoinder from further violations of these parts and any

other such relief the court may deem just and proper.

                                              Respectfully submitted,

                                             /s/ Octavio Gomez
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